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 1                                                                  The Honorable Ricardo S. Martinez
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                             UNITED STATES DISTRICT COURT FOR THE
 7                             WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9                                                        CASE NO. 2:19-cv-02036-RSM
10 LASSANA MAGASSA,                                       STIPULATED MOTION TO STAY
                                                          DEFENDANTS’ FRCP 12(a)(4)(A)
11                                  Plaintiff,            DEADLINE AND TO SET A
12                                                        SCHEDULE FOR FURTHER
                            v.
                                                          PROCEEDINGS AND ORDER
13 CHAD F. WOLF, in his Official Capacity as
     Acting Secretary of the Department of                Noted for Consideration:
14 Homeland Security, et al.,                             September 23, 2020
15
                                    Defendants.
16
17
            COMES NOW Defendants Chad F. Wolf, David Pekoske, Mark Morgan, William Barr,
18
     Christopher Wray, and Charles Kable, all in their official capacities (“Defendants”), through
19
20 their counsel Antonia Konkoly, Trial Attorney, U.S. Department of Justice, and Plaintiff Lassana
21 Magassa, through his counsel Christina Jump, in this stipulated motion to stay Defendants’
22 pending deadline under Federal Rule of Civil Procedure 12(a)(4)(A) to answer Plaintiff’s
23
     Complaint by September 30, 2020, and to set a schedule for further proceedings in this matter.
24
            The grounds for this motion are as follows:
25
26          1.       Plaintiff initiated the instant action on December 12, 2019. Dkt. No. 1. As pled in
27 his original (and operative) Complaint, Plaintiff’s claims generally relate to (1) the prior
28
     STIPULATED MOTION TO STAY DEFENDANTS’                           U.S Department of Justice
     FRCP 12(a)(4)(A)DEADLINE AND TO SET A SCHEDULE                  1100 L Street NW
     FOR FURTHER PROCEEDINGS - 1                                     Washington, DC 20005
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 1   revocation of an airport badge which he required to hold a job in a secure area of the Seattle-
 2 Tacoma Airport; (2) the procedural sufficiency of the administrative redress procedures he was
 3
     afforded (before the re-issuance of his airport badge) to appeal this revocation; and (3) his
 4
     allegations that he has encountered certain travel-related difficulties as a result of an alleged
 5
 6 placement on the Terrorist Screening Database (“TSDB”). See generally id.
 7           2.       Defendants moved to dismiss Plaintiff’s claims in their entirety (“Defendants’
 8
     Motion”). Following the completion of briefing, on September 16, 2020, the Court granted in
 9
     part and denied in part Defendants’ Motion, and ordered Plaintiff to file an Amended Complaint
10
11 “curing the … deficiencies” identified in the Court’s decision within 30 days, i.e., by October 16,
12 2020. Dkt. No. 36.
13
             3.       By default operation of Federal Rule of Civil Procedure 12(a)(4)(A), Defendants
14
     are presently required to file an Answer to Plaintiff’s Complaint on or before September 30,
15
16 2020.
17           4.       Plaintiff intends to avail himself of the opportunity afforded by the Court to
18 amend his claims, and Defendants anticipate that they will respond to Plaintiff’s Amended
19
     Complaint by filing a renewed motion to dismiss.
20
             5.       The parties have conferred, and concur that in these circumstances, it would not
21
22 further the litigation for Defendants to file an Answer to Plaintiff’s original, and soon to be
23 superseded, Complaint. The parties have additionally conferred regarding a mutually agreeable
24
     schedule for further proceedings, which accounts for the other professional obligations of all
25
     counsel. To that end, and to facilitate the efficient progress of this litigation, the parties jointly
26
27 stipulate to the below-proposed schedule:
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     STIPULATED MOTION TO STAY DEFENDANTS’                              U.S Department of Justice
     FRCP 12(a)(4)(A)DEADLINE AND TO SET A SCHEDULE                     1100 L Street NW
     FOR FURTHER PROCEEDINGS - 2                                        Washington, DC 20005
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 1                    Plaintiff will file an Amended Complaint on or before October 16, 2020;
 2                    Defendants will file their anticipated renewed Motion to Dismiss on or before
 3                     November 16, 2020;

 4                    Plaintiff will oppose Defendants’ anticipated renewed Motion to Dismiss on or
                       before December 7, 2020; and
 5
 6                    Defendants will file their Reply in further support of their anticipated renewed
                       Motion to Dismiss on or before December 21, 2020.
 7
             6.        The parties respectfully submit that the stipulated relief and above-proposed
 8
 9 schedule for further proceedings are supported by good cause and in the interest of judicial
10 economy, in that the parties’ proposal will facilitate the efficient progress of this litigation.
11
12
     DATED this 23rd day of September, 2020.
13
14                                                           Respectfully submitted,

15
                                                             JEFFREY BOSSERT CLARK
16                                                           Acting Assistant Attorney General
17
                                                             TONY COPPOLINO
18                                                           Deputy Branch Director
19
                                                             BRIGHAM J. BOWEN
20                                                           Assistant Branch Director

21                                                                  /s/ Antonia Konkoly
22                                                           Antonia Konkoly
                                                             Trial Attorney
23                                                           U.S. Department of Justice
                                                             Civil Division, Federal Programs Branch
24                                                           1100 L St. NW, Room 11110
25                                                           Washington, DC 20005
                                                             (202) 514-2395 (direct)
26                                                           (202) 616-8470
                                                             antonia.konkoly@usdoj.gov
27
28
     STIPULATED MOTION TO STAY DEFENDANTS’                             U.S Department of Justice
     FRCP 12(a)(4)(A)DEADLINE AND TO SET A SCHEDULE                    1100 L Street NW
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 1                                                    Counsel for the Official Capacity
                                                      Defendants
 2
 3
                                                      /s/ Charles D. Swift
 4                                                    /s/ Christina A. Jump
                                                      Charles D. Swift
 5
                                                      Counsel for Plaintiff
 6                                                    WA State Bar No. 41671
                                                      Christina A. Jump
 7                                                    Pro Hac Vice Counsel for Plaintiff
 8                                                    TX State Bar No. 00795828
                                                      833 E. Arapaho Rd., Suite 102
 9                                                    Richardson, TX 75081
                                                      Tel: (972) 914-2507
10                                                    Fax: (972) 692-7454
11                                                    cswift@clcma.org
                                                      cjump@clcma.org
12
                                                      /s/ Alisa R. Brodkowitz
13
                                                      Alisa R. Brodkowitz
14                                                    Local Counsel for Plaintiff
                                                      WA State Bar No. 31749
15                                                    Friedman | Rubin PLLP
16                                                    1109 1st Ave., Ste. 501
                                                      Seattle, WA 98101
17                                                    Tel: (206) 501-4446
                                                      Fax: (206) 623-0794
18                                                    alisa@friedmanrubin.com
19
                                                      Counsel for the Plaintiff
20
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     STIPULATED MOTION TO STAY DEFENDANTS’                     U.S Department of Justice
     FRCP 12(a)(4)(A)DEADLINE AND TO SET A SCHEDULE            1100 L Street NW
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 1                                              ORDER
 2         Pursuant to the parties’ motion, and the parties having stipulated and agreed, and the
 3
     Court finding good cause, it is hereby ORDERED that:
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                  Defendants’ pending deadline under Federal Rule of Civil Procedure 12(a)(4)(A)
 5
                   to answer to Plaintiff’s Complaint is stayed;
 6
                  Plaintiff shall file an Amended Complaint on or before October 16, 2020;
 7
                  Defendants shall file their anticipated renewed Motion to Dismiss on or before
 8
                   November 16, 2020;
 9
                  Plaintiff shall file his Opposition to Defendants’ anticipated renewed Motion to
10                 Dismiss on or before December 7, 2020; and
11
                  Defendants shall file their Reply in further support of their anticipated renewed
12                 Motion to Dismiss on or before December 21, 2020.
13         Dated this 24th day of September, 2020.
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17
                                                 RICARDO S. MARTINEZ
18                                               CHIEF UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION TO STAY DEFENDANTS’                         U.S Department of Justice
     FRCP 12(a)(4)(A)DEADLINE AND TO SET A SCHEDULE                1100 L Street NW
     FOR FURTHER PROCEEDINGS - 5                                   Washington, DC 20005
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